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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9    UNITED STATES OF AMERICA,
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                                                               No. CR05-270RSL
                           Plaintiff,
11                                                             ORDER GRANTING MOTION TO
                    vs.                                        STAY RESTITUTION
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      COLUMBIA MEDICAL SYSTEMS, INC.,
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      PHU NGUYEN, TUYET NGUYEN, and
      SESS MERKE,
14                         Defendants.
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            This matter comes before the Court on defendant Sess Merke’s “Motion to Stay Sentence
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     of Restitution Pending Appeal” (Dkt. #250). On September 15, 2006, the Court sentenced Mr.
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     Merke and entered a judgment of conviction, which Mr. Merke subsequently appealed. The
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     Court then granted Mr. Merke’s request to be released on bond pending appeal. The
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     Government, however, has requested that Mr. Merke begin making payments toward his
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     restitution obligations prior to the resolution of his appeal. Mr. Merke now seeks, under Federal
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     Rule of Criminal Procedure 38, a stay of his sentence of restitution pending appeal.
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            The Court concludes that a stay of Mr. Merke’s sentence of restitution is appropriate.
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     Mr. Merke’s appeal raises substantial questions of law and fact and has not been pursued simply
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     for the purpose of delay. Further, a stay would impose minimal hardship on the victim, because
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     even in the absence of a stay the victim will receive no payments until after the appeal is
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     resolved. During the pendency of his appeal, Mr. Merke should be permitted to direct his
27
     ORDER GRANTING MOTION
28   TO STAY RESTITUTION -1
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 1   limited financial resources to supporting his family. The Court therefore GRANTS defendant
 2   Merke’s motion to stay his sentence of restitution pending appeal (Dkt. #250).
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 4         DATED this 17th day of January, 2007.
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 7
                                              A
                                              Robert S. Lasnik
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                                              United States District Judge

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     ORDER GRANTING MOTION
28   TO STAY RESTITUTION -2
